443 F.2d 383
    77 L.R.R.M. (BNA) 2688, 65 Lab.Cas.  P 11,832
    NATIONAL LABOR RELATIONS BOARD, Petitioner,v.IRONWORKERS LOCAL UNION NO. 290, INTERNATIONAL ASSOCIATIONOF BRIDGE, STRUCTURAL AND ORNAMENTAL IRON WORKERS,AFL-CIO, Respondent.
    No. 20920.
    United States Court of Appeals, Sixth Circuit.
    June 9, 1971.
    
      Stanley R. Zirkin, N.L.R.B., Washington, D.C., Arnold Ordman, General Counsel, Dominick L. Manoli, Associate General Counsel, Marcel Mallet-Prevost, Asst. General Counsel, Leonard M. Wagman, Atty., N.L.R.B., Washington, D.C., on the brief, for petitioner.
      Jack Gallon, Toledo, Ohio, Ted Iorio, Toledo, Ohio, on the brief, for respondent.
      Before PECK, BROOKS and KENT, Circuit Judges.
    
    
      1
      This cause came on to be heard on the record and briefs of counsel.  The Board petitions for enforcement of its order found at 184 N.L.R.B. No. 21.  On Consideration of the briefs, the record and the arguments of counsel, it appears to the Court that the findings and order of the Board are supported by substantial evidence on the record as a whole.
    
    
      2
      Now, therefore, it is ordered that the order of the Board be and it is hereby enforced.
    
    